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 2 LAW OFFICES   th
                    OF KAMILLE DEAN, PLC
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 3 Phoenix, Arizona 85018
 4 Telephone (602) 252-5601
   kamille@kamilledean.com
 5 Attorney for Julian Omidi
 6                     IN THE UNITED STATES DISTRICT COURT
 7                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                   Case No. 2:17-cr-00661-DMG
 9
                       Plaintiff,
10                                               NOTICE OF UNOPPOSED EX PARTE
                       v.                        APPLICATION FOR EXTENSION OF
11                                               TIME AND UNOPPOSED EX PARTE
     JULIAN OMIDI,                               APPLICATION FOR EXTENSION OF
12                                               TIME TO FILE BILL OF
                      Defendant.                 PARTICULARS
13
14                                               Honorable Dolly M. Gee

15                                               Status Conference: 3/21/2018
                                                 Trial: 5/1/2018
16
17
18
19
20    NOTICE OF UNOPPOSED EX PARTE APPLICATION FOR EXTENSION OF
21
       TIME AND UNOPPOSED EX PARTE APPLICATION FOR EXTENSION OF
22
23                      TIME TO FILE BILL OF PARTICULARS
24
25        COMES NOW Julian Omidi, pursuant to Fed. R. Crim. P. 7(f) and
26 45(b)(1), and hereby gives Notice to the Court and USA of Julian Omidi’s
27
   NOTICE OF UNOPPOSED EX PARTE APPLICATION FOR EXTENSION OF
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 1 TIME AND UNOPPOSED EX PARTE APPLICATION FOR EXTENSION OF
 2
     TIME TO FILE BILL OF PARTICULARS.
 3
 4         Julian Omidi requests an extension of time to file a Bill of Particulars

 5 regarding the Indictment against him. Julian Omidi was arraigned on
 6
     February 28, 2018; therefore, his Bill of Particulars is due on or before March
 7
     14, 2018.
 8
 9         Surgery Center Management and Independent Medical Services are set
10
     for an arraignment hearing on March 21, 2018, therefore, the Bill of
11
     Particulars is due on April 4, 2018.
12
13         Julian Omidi respectfully requests this Honorable Court grant him an
14
     extension of time for the Bill of Particulars to April 4, 2018 or a reasonable
15
     date thereafter.
16
17         This matter is complex, and the discovery is extensive with the USA
18
     disclosing a terabyte of discovery. Undersigned counsel needs time to review
19
     the Indictment in detail with her client, which to date has not been completed
20
21 because undersigned counsel has been out of town due to her grandmother’s
22 death to attend a funeral and assist with family affairs. Additionally, the USA
23
   alleges the three Counterclaim Defendants in this matter charged in USA v.
24
25 Julian Omidi, et. al., Surgery Center Management, Independent Medical
26 Services, and Julian Omidi, are conflicted and that undersigned counsel can
27
   only represent one party. It is not yet determined which party that will be.
28
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                                               2
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 1         There is no prejudice to the parties to allow the Bill of Particulars to be
 2
     filed at a later date. Thus, the Application to extend the deadline should be
 3
     granted, and the new deadline should be set for April 4, 2018 or a reasonable
 4
 5 date thereafter as determined by this Honorable Court.
 6
           Reasonable and good faith efforts were taken to meet and confer with
 7
     AUSA Kristen Williams regarding this request. AUSA Kristen Williams stated
 8
 9 she has no opposition to extending the date to match with co-defendants,
10
     Surgery Center Management and Independent Medical Services, or a date
11
     thereafter as set by the Court. See Declaration of Kamille Dean
12
13         Respectfully Submitted ,
14         this 12th day of March, 2018
15
                                       /s Kamille R. Dean
16
                                       Kamille Dean, Esq. #234468
17                                     LAW OFFICES OF KAMILLE
18                                     DEAN, PLC
                                       4545 North 36th Street, Suite 202
19                                     Phoenix, Arizona 85018
                                       Telephone (602) 252-5601
20                                     kamille@kamilledean.com
21                                     Attorneys for Counterclaim
22                                     Defendants Almont Ambulatory
                                       Surgery Center, et al.
23
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 1                         DECLARATION OF KAMILLE DEAN
 2
       I, KAMILLE DEAN, DECLARE AS FOLLOWS:
 3
 4
       1.    I am the attorney for Julian Omidi in this in this matter.
 5
       2.    I make this Declaration in support of Julian Omidi’s NOTICE OF
 6
             UNOPPOSED EX PARTE APPLICATION FOR EXTENSION OF TIME
 7
             AND UNOPPOSED EX PARTE APPLICATION FOR EXTENSION OF
 8
             TIME TO FILE BILL OF PARTICULARS.
 9
       3.    This Declaration is based on personal knowledge and I would be able
10
             to testify to the facts stated herein.
11
       4.    On February 28, 2018, Julian Omidi was arraigned in this matter.
12
       5.    The Bill of Particulars is due on March 14, 2018.
13
       6.    Julian Omidi has good cause for an extension to file the Bill of
14
             Particulars on April 4, 2018 or a reasonable date thereafter as
15
             determined by this Court.
16
       7.    On March 8, 2018, I sent an email AUSA Kristen Williams requesting
17
             an extension to April 4, 2018.
18
       8.    On March 9, 2018, AUSA Kristen Williams emailed me and stated:
19
             “We do not oppose a continuance, although the new proposed date
20
             should be either April 4, 2018, or another date selected by the
21
             Court, given that the Court may be setting various motion
22
             schedules at the March 21st hearing and may want to set a
23
             schedule for a motion for bill of particulars as a part of that was
24
             contacted regarding this request and the USA does not oppose this
25
             extension.”
26
             I declare under the laws of the United States that the foregoing is true
27
       and correct.
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                                                4
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 1           DATED this 12th day of March, 2018.
 2
 3
                                 /s/ Kamille Dean
 4
 5                               Kamille Dean

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 1                             PROOF OF SERVICE
 2 I am employed in the County of Los Angeles, State of California. I am over the
 3 age of 18 and not a party to the within action; my business address is LAW
 4 OFFICES OF KAMILLE DEAN, PLC, 4545 North 36th Street, Suite 202,
 5 Phoenix, Arizona 85018.
 6
 7             On March 12, 2018, I served the document described as:
 8    NOTICE OF UNOPPOSED EX PARTE APPLICATION FOR EXTENSION OF
 9     TIME AND UNOPPOSED EX PARTE APPLICATION FOR EXTENSION OF
10                      TIME TO FILE BILL OF PARTICULARS
11
12 through the Court’s ECF electronic filing and service system.
13
14 Executed on March 12, 2018,
15
16                                           /s/ Kamille Dean
                                             Kamille Dean
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